           Case 1:19-cv-00559-RP Document 1 Filed 05/29/19 Page 1 of 16




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

 ROTHSCHILD BROADCAST
 DISTRIBUTION SYSTEMS, LLC,

                 Plaintiff,
                                                      CIVIL ACTION NO. 1:19-cv-00559
          v.

 RESIDEO TECHNOLOGIES, INC.,                          JURY TRIAL DEMANDED

                 Defendant.



                                          COMPLAINT


         Plaintiff Rothschild Broadcast Distribution Systems, LLC (“Plaintiff” or “Rothschild

Broadcast Distribution Systems”) files this complaint against Defendant Resideo Technologies,

Inc. (“Defendant” or “Resideo”) for infringement of U.S. Patent No. 8,856,221 (hereinafter the

“`221 Patent”) and alleges as follows:

                                            PARTIES

1.       Plaintiff is a Texas limited liability company with an office at 1400 Preston Road, Suite

400, Plano, Texas 75093.

2.       On information and belief Defendant is a Delaware corporation with a principal place of

business located at 901 E. 6th St., Austin, TX 78702. Upon information and belief, Defendant may

be served through its agent, Corporation Service Company, 251 Little Falls Dr., Wilmington, DE

19808.

                                 JURISDICTION AND VENUE

3.       This action arises under the patent laws of the United States, 35 U.S.C. § 271 et seq.

Plaintiff is seeking damages, as well as attorney fees and costs.
           Case 1:19-cv-00559-RP Document 1 Filed 05/29/19 Page 2 of 16




4.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal Question) and

1338(a) (Patents).

5.      On information and belief, this Court has personal jurisdiction over Defendant because

Defendant has committed, and continues to commit, acts of infringement in this District, has

conducted business in this District, and/or has engaged in continuous and systematic activities in

this District.

6.      Upon information and belief, Defendant’s instrumentalities that are alleged herein to

infringe were and continue to be used, imported, offered for sale, and/or sold in the District.

7.      Venue is proper in this District under 28 U.S.C. §1400(b) because Defendant is deemed to

be a resident of this District, Alternatively, acts of infringement are occurring in this District and

Defendant has a regular and established place of business in this District.

                                         BACKGROUND

8.      On October 7, 2014, the United States Patent and Trademark Office (“USPTO”) duly and

legally issued the `221 Patent, entitled “System and Method for Storing Broadcast Content in an

Cloud-Based Computing Environment” after the USPTO completed a full and fair examination.

The ‘221 Patent is attached as Exhibit A.

9.      Rothschild Broadcast Distribution Systems is currently the owner of the `221 Patent.

10.     Rothschild Broadcast Distribution Systems possesses all rights of recovery under the `221

Patent, including the exclusive right to recover for past, present and future infringement.

11.     The `221 Patent contains thirteen claims including two independent claims (claims 1 and

7) and eleven dependent claims.
           Case 1:19-cv-00559-RP Document 1 Filed 05/29/19 Page 3 of 16




                                       COUNT ONE
                     (Infringement of United States Patent No. 8,856,221)

12.    Plaintiff refers to and incorporates the allegations in Paragraphs 1 - 11, the same as if set

forth herein.

13.    This cause of action arises under the patent laws of the United States and, in particular

under 35 U.S.C. §§ 271, et seq.

14.    Defendant has knowledge of its infringement of the `221 Patent, at least as of the service

of the present complaint.

15.    Upon information and belief, Defendant has infringed and continues to infringe one or

more claims, including at least Claim 1, of the ‘221 Patent by making, using, importing, selling,

and/or offering for media content storage and delivery systems and services covered by one or

more claims of the ‘221 Patent.

16.    Accordingly, Defendant has infringed, and continues to infringe, the `221 Patent in

violation of 35 U.S.C. § 271.

17.    Defendant sells, offers to sell, and/or uses media content storage and delivery systems and

services, including, without limitation, the IPCAM-WIC2 camera using Resideo Total Connect

app, and any similar products (“Product”), which infringes at least Claim 1 of the ‘221 Patent.

18.    The Product practices a method of storing (e.g. cloud storage) media content (e.g. live and

recorded video) and delivering requested media content (e.g. view live footage and recorded clips)

to a consumer device. Certain aspects of these elements are illustrated in the screenshots below

and/or in screenshots provided in connection with other allegations herein.
          Case 1:19-cv-00559-RP Document 1 Filed 05/29/19 Page 4 of 16




19.    The Product necessarily includes at least one server for hosting and storing media content

for customers. For example, the Product necessarily includes at least one server (e.g., cloud server)

to store recorded security videos.

20.    The at least one server necessarily includes a first receiver configured to receive a request

message including data indicating requested media content (e.g., the server must have

infrastructure to receive a request to store recorded security videos or to stream recorded video on

a smartphone; additionally, the request message must contain data that identifies the video to be

stored or streamed) and a consumer device identifier corresponding to a consumer device (e.g., the

user credentials are used to tie a smartphone and user account to particular cameras and the videos

they produce). In the accused product, the cloud services (including camera view from cloud) can

be accessed from web/mobile application (e.g. Resideo Total Connect app) by just signing in with

correct credentials. Certain aspects of these elements are illustrated in the screenshots below and/or

in screenshots provided in connection with other allegations herein.
Case 1:19-cv-00559-RP Document 1 Filed 05/29/19 Page 5 of 16
          Case 1:19-cv-00559-RP Document 1 Filed 05/29/19 Page 6 of 16




21.    The Product necessarily includes a processor to determine whether the consumer device

identifier corresponds to the registered consumer device (e.g., the server must authenticate a user’s

credentials to ensure that the credentials match those registered with a security camera which the

user would like to access). In the accused product, a user must be a registered user to access

Resideo cloud services. Certain aspects of these elements are illustrated in the screenshots below

and/or in screenshots provided in connection with other allegations herein.
          Case 1:19-cv-00559-RP Document 1 Filed 05/29/19 Page 7 of 16




22.    The Product provides for both media downloads and/or storage, and media streaming. As

per the information available, after successful login, a processor within the Product necessarily

determines whether the request received from a customer is a request for storage (e.g., recording

or storing content) or content (e.g., streaming of media content, live view). Certain aspects of these
           Case 1:19-cv-00559-RP Document 1 Filed 05/29/19 Page 8 of 16




elements are illustrated in the screenshots below and/or in screenshots provided in connection with

other allegations herein.




23.      The server verifies that media content (e.g., specific recording from a specific camera)

identified in the media data of the storage request message (e.g., request to record content) is

available for storage in order to prevent data errors that would result from attempting to store

content that is not available for storage (e.g., the server must verify that a particular security camera

is adequately connected to the internet as to allow for video recording and storage on the cloud;

additionally, a user’s ability to store video is limited to a certain amount of memory usage based

upon their subscription, thus media content may not be available for storage if a user is already

above their memory limit or if he hasn’t subscribed to any service). Also, in the accused product,

the number of cameras supported is based on the activated subscription pack. In free and standard

membership, only one camera is supported whereas in the premium membership unlimited number

of cameras are allowed. If a user has subscribed to a standard plan then the video recording from

the second camera will not be saved in the cloud (i.e. unavailable for storage.). A user can also
          Case 1:19-cv-00559-RP Document 1 Filed 05/29/19 Page 9 of 16




schedule the recording and, as per his requirement, only the events happened in between the

scheduled time will be eligible to be recorded on the clouds storage. Certain aspects of these

elements are illustrated in the screenshots below and/or in screenshots provided in connection with

other allegations herein.
          Case 1:19-cv-00559-RP Document 1 Filed 05/29/19 Page 10 of 16




24.     If a customer requests content (e.g., live streaming of media content), then a processor

within the Product necessarily initiates delivery of the content to the customer’s device. The server

will initiate delivery of the requested media content to the consumer device (e.g. stream live
          Case 1:19-cv-00559-RP Document 1 Filed 05/29/19 Page 11 of 16




camera feed to a smartphone or tablet or desktop computer) if the request message is a content

request message (e.g. request for live streaming).

25.   The media data includes time data that indicates a length of time to store the requested media

content (e.g., a user is allowed to store videos for maximum of 30 days as based upon their

subscription level). Certain aspects of these elements are illustrated in the screenshots below and/or

in screenshots provided in connection with other allegations herein.
          Case 1:19-cv-00559-RP Document 1 Filed 05/29/19 Page 12 of 16




26.   The server must first determine whether the requested media content exists prior to initiating

delivery in order to prevent data errors that would result from attempting to transmit media content

that does not exist (e.g., the server must verify that a particular security camera is adequately

connected to the internet as to allow for video recording and streaming). Certain aspects of these

elements are illustrated in the screenshots below and/or in screenshots provided in connection with

other allegations herein.
            Case 1:19-cv-00559-RP Document 1 Filed 05/29/19 Page 13 of 16




27.        After the processor determines whether the requested media content is available, it

determines whether there are restrictions associated with the requested media content (e.g.,

subscription level etc.).

28.      Defendant’s actions complained of herein will continue unless Defendant is enjoined by

this Court.

29. Defendant’s actions complained of herein is causing irreparable harm and monetary damage

to Plaintiff and will continue to do so unless and until Defendant is enjoined and restrained by this

Court.

30.      Upon information and belief, Defendant has induced, and continues to induce infringement

of the `221 Patent through its customers’ actions, at least as of the service of the present complaint.

31.      The `221 Patent is valid, enforceable, and was duly issued in full compliance with Title 35

of the United States Code.

32.      A copy of the ‘221 Patent, titled “System and Method for Storing Broadcast Content in a

Cloud-based Computing Environment,” is attached hereto as Exhibit A.

33.      By engaging in the conduct described herein, Defendant has injured Rothschild Broadcast

Distribution Systems and is thus liable for infringement of the `221 Patent, pursuant to 35 U.S.C.

§ 271.

34. Defendant has committed these acts of literal infringement, or infringement under the doctrine

of equivalents of the `221 Patent, without license or authorization.

35.      As a result of Defendant’s infringement of the `221 Patent, injured Rothschild Broadcast

Distribution Systems has suffered monetary damages and is entitled to a monetary judgment in an

amount adequate to compensate for Defendant’s past infringement, together with interests and

costs.
            Case 1:19-cv-00559-RP Document 1 Filed 05/29/19 Page 14 of 16




36.     Plaintiff is in compliance with 35 U.S.C. § 287.

37.     As such, injured Rothschild Broadcast Distribution Systems is entitled to compensation for

any continuing and/or future infringement of the `221 Patent up until the date that Defendant ceases

its infringing activities.

                                   DEMAND FOR JURY TRIAL

38.     Rothschild Broadcast Distribution Systems, under Rule 38 of the Federal Rules of Civil

Procedure, requests a trial by jury of any issues so triable by right.

                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiff asks the Court to:

      (a) Enter judgment for Plaintiff on this Complaint on all cases of action asserted herein;


      (b) Enter an Order enjoining Defendant, its agents, officers, servants, employees, attorneys,

      and all persons in active concert or participation with Defendant who receives notice of the

      order from further infringement of United States Patent No. 8,856,221 (or, in the alternative,

      awarding Plaintiff running royalty from the time judgment going forward);


      (c) Award Plaintiff damages resulting from Defendants infringement in accordance with 35

      U.S.C. § 284;


      (d) Award Plaintiff such further relief to which the Court finds Plaintiff entitled under law or

      equity.
       Case 1:19-cv-00559-RP Document 1 Filed 05/29/19 Page 15 of 16




DATED: May 29, 2019                     Respectfully submitted,

                                        /s/ Jay Johnson        .
                                        JAY JOHNSON
                                        State Bar No. 24067322
                                        D. BRADLEY KIZZIA
                                        State Bar No. 11547550
                                        KIZZIA JOHNSON, PLLC
                                        1910 Pacific Avenue, Suite 13000
                                        Dallas, Texas 75201
                                        (214) 451-0164
                                        Fax: (214) 451-0165
                                        Jay@kpcllc.com
                                        Bkizzia@kpllc.com


                                        ATTORNEYS FOR PLAINTIFF
Case 1:19-cv-00559-RP Document 1 Filed 05/29/19 Page 16 of 16




                      EXHIBIT A
